Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 1 of 36 Page ID #:3764




                               EXHIBIT $

                               5('$&7('
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 2 of 36 Page ID #:3765




                      1 BOIES SCHILLER FLEXNER LLP
                        David K. Willingham (State Bar No. 198874)
                      2  dwillingham@bsfllp.com
                      3 725 South Figueroa Street, Floor 31
                        Los Angeles, California 90017-5524
                      4 Phone: (213) 629-9040
                      5 Fax: (213) 629-9022
                      6 Lee S. Wolosky (pro hac vice)                Amy L. Neuhardt (pro hac vice)
                      7 lwolosky@bsfllp.com                            aneuhardt@bsfllp.com
L L P




                        Robert J. Dwyer (pro hac vice)               1401 New York Avenue, NW
                      8 rdwyer@bsfllp.com                            Washington, DC 20005-2102
F L E X N E R




                      9 575 Lexington Ave., Floor 7                  Phone: (202) 237-2727
                        New York, NY 10022-6138                      Fax: (202) 237-6131
                     10 Phone: (212) 446-2300
                     11 Fax: (212) 446-2350
S C H I L L E R




                     12 Counsel for Plaintiffs
                     13 [Additional counsel listed on signature page]
                     14                 UNITED STATES DISTRICT COURT
                     15        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
B O I E S




                     16 BROIDY CAPITAL MANAGEMENT                  Case No. 18-cv-02421-JFW
                     17 LLC and ELLIOTT BROIDY,
                                                                   JOINT STIPULATION PURSUANT
                     18              Plaintiffs,                   TO LOCAL RULE 37-2 RE
                     19                                            MOTION CHALLENGING
                               v.                                  DEFENDANT QATAR’S
                     20                                            DESIGNATIONS OF MATERIAL
                     21 STATE OF QATAR, STONINGTON                 UNDER THE PROTECTIVE
                        STRATEGIES LLC, NICOLAS D.                 ORDER
                     22 MUZIN, GLOBAL RISK ADVISORS
                     23 LLC, KEVIN CHALKER, DAVID                  Magistrate Judge Charles Eick
                        MARK POWELL, MOHAMMED BIN
                     24 HAMAD BIN KHALIFA AL THANI,
                     25 AHMED AL-RUMAIHI, and DOES 1-               Discovery Cut-Off: March 1, 2019
                        10,                                         Pretrial Conference Date: June 7,
                     26                                             2019
                     27              Defendants.                    Trial Date: June 25, 2019
                     28
                                                                                      Case No. 18-cv-02421-JFW
                                         JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                                                                                     THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 3 of 36 Page ID #:3766




                      1
                      2                                            Table of Contents

                      3 LOCAL RULE 37-1 MEET AND CONFER ............................................... - 1 -
                        PLAINTIFFS’ POSITION ............................................................................ - 2 -
                      4
                      5  A. Statement of Facts ................................................................................ - 2 -
                      6      B. Statement of Law ................................................................................. - 6 -
                      7
L L P




                             C. Plaintiffs’ Challenges to Qatar’s Designations.................................... - 9 -
                      8
                                1. Emails to or from Mr. Muzin Containing Proposed Lobbying
F L E X N E R




                      9
                                     Strategy (Exs. 10-13 (PROD000000001-PROD000000019)) ......... - 9 -
                     10
                                2. WhatsApp Messages Amongst Nick Muzin, Joseph Allaham,
                     11
                                     Jamal Benomar, and Ahmed Al-Rumaihi (Ex. 14 (Prod00000024-
S C H I L L E R




                     12
                                     25); Ex. 15 (PROD00000027); Ex. 16 (PROD00000051)) ........... - 13 -
                     13
                     14         3. Bank Records
                     15                                     (Ex. 17 (PROD000000067 to PROD000000074))- 16 -
B O I E S




                     16         4. The Transcript Of The Deposition Of Joseph Allaham (Ex. 18) ... - 17 -
                     17 QATAR’S POSITION ................................................................................ - 17 -
                     18         A. Any Action on Plaintiffs’ Challenge Should be Held in Abeyance
                     19              Given the Current Procedural Posture of the Case. ....................... - 18 -
                     20
                                B. Plaintiffs’ Purposes in Pursuing This Discovery Motion are
                     21
                                     Improper and Outside of the Scope of Rule 26. ............................. - 19 -
                     22
                                C. Qatar’s Designations Are Proper Under the Protective Order. ...... - 21 -
                     23
                     24
                     25
                     26
                     27                                                         i            Case No. 18-cv-02421-JFW
                                                JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                     28                                                                     THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 4 of 36 Page ID #:3767




                      1         In accordance with Local Rule 37-2, the following is the Joint Stipulation of
                      2 Plaintiffs Elliott Broidy and Broidy Capital Management LLC (together, “Plaintiffs”)
                      3 and Defendant State of Qatar (“Qatar”) concerning Plaintiffs’ challenge to
                      4 designations made by the Qatar pursuant to the Court’s Protective Order.
                      5                      LOCAL RULE 37-1 MEET AND CONFER
                      6         On September 6, 2018, Qatar, Kevin Chalker and Global Risk Advisors LLC
                      7 (together, the “GRA Defendants”), and Stonington Strategies LLC and Nicolas D.
L L P




                      8 Muzin (together, the “Stonington Defendants”) separately designated certain
F L E X N E R




                      9 materials produced by third-parties as Highly Confidential or Confidential pursuant
                     10 to the Protective Order entered in this matter. The designations made by Qatar on
                     11 that date are attached as Ex. 1. The Protective Order is attached as Ex. 2. Plaintiffs
S C H I L L E R




                     12 objected to those designations on September 8, 2018. (Ex. 3.) Plaintiffs informed
                     13 Defendants of their intention to challenge many of these designations, and the parties
                     14 held a telephonic meet and confer on Wednesday, September 12, 2018 at 4:30 p.m.
                     15 Eastern Daylight Time to discuss Plaintiffs’ intention to challenge the designations
B O I E S




                     16 made by Defendants pursuant to the Protective Order. The day before that meet and
                     17 confer, Qatar sent a letter clarifying its designations. (Ex. 4.)
                     18         Lee Wolosky, Amy Neuhardt and Sam Kleiner of Boies Schiller Flexner LLP
                     19 participated on behalf of Plaintiffs. Jonathan Gimblett, William Phillips, Neema
                     20 Sahni, and Rebecca Van Tassell of Covington & Burling LLP participated on behalf
                     21 of Qatar. Steve Obermeier and Matt Gardner of Wiley Rein LLP participated on
                     22 behalf of the Stonington Defendants. David Gringer of Wilmer Cutler Pickering
                     23 Hale and Dorr LLP participated on behalf of the GRA Defendants.
                     24         During the meet and confer, Plaintiffs objected to all of Qatar’s designations of
                     25 materials as Confidential or Highly Confidential for the reasons set forth in Plaintiffs’
                     26
                     27                                         -1-                    Case No. 18-cv-02421-JFW
                                          JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                     28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 5 of 36 Page ID #:3768




                      1 Position below.1
                      2        On September 13, 2018, Plaintiffs sent an additional written objection to Qatar
                      3 concerning the designations it made on September 11, 2018. (Ex. 5.) In response, on
                      4 September 14, 2018, Qatar withdrew the designation of one page as Confidential but
                      5 otherwise maintained all of its designations. (Ex. 6.)
                      6                                PLAINTIFFS’ POSITION
                      7        A.     Statement of Facts
L L P




                      8        Sometime in late 2017, hackers began using sophisticated techniques to
F L E X N E R




                      9 infiltrate computer systems and accounts belonging to Plaintiffs, and certain of their
                     10 associates and family members. (First Amended Complaint, “FAC” ¶¶ 97-116, ECF
                     11 No. 47.) After breaching Plaintiffs’ computer systems and accounts, the hackers
S C H I L L E R




                     12 stole large volumes of confidential and proprietary information without Plaintiffs’
                     13 consent or knowledge. (Id.) The confidential information was then given to a
                     14 number of journalists from U.S. media organizations who wrote news stories based
                     15 on the information stolen from Plaintiffs’ computers and accounts. (Id. ¶¶ 117-26.)
B O I E S




                     16 Plaintiffs alleged that Qatar was responsible for the attack and that the Stonington
                     17 Defendants had acted in concert with Qatar. (Id. ¶ 9.) On August 8, 2018, this Court
                     18 dismissed Qatar as a defendant, holding that the Court did not have subject matter
                     19 jurisdiction under the Foreign Sovereign Immunities Act. (ECF No. 198.)
                     20        On August 17, 2018, the Court entered a Protective Order in this matter. (ECF
                     21
                     22   1
                         Plaintiffs also objected during this meet and confer to designations made by the
                     23 GRA and Stonington Defendants. The Stonington Defendants since have withdrawn
                        many of their designations and Plaintiffs have agreed not to challenge the remaining
                     24 designations at this time. Plaintiffs also have decided not to challenge the
                     25 designations made by the GRA Defendants at this time.
                     26
                     27                                         -2-                     Case No. 18-cv-02421-JFW
                                           JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                     28                                                                THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 6 of 36 Page ID #:3769




                      1 No. 210, adopting ECF No. 185-1, which is attached as Ex. 7.) The Protective Order
                      2 states that “Any Party or Non-Party may challenge a designation of confidentiality at
                      3 any time that is consistent with the Court’s Scheduling Order.” (Ex. 2, G.1.)
                      4 Plaintiffs challenge the designations purportedly made by Qatar on September 6,
                      5 2018, as modified on September 11, 2018. (See Exs. 1 and 4.)
                      6         In the September 11, 2018 letter, Qatar designated thirty pages of documents
                      7 of third-party discovery materials as Highly Confidential –Attorneys Eyes Only. The
L L P




                      8 documents designated involve communications among four individuals: Defendant
F L E X N E R




                      9 Nicolas Muzin, Joseph Allaham, Jamal Benomar, and Ahmed Al-Rumaihi. Dr.
                     10 Muzin was the President of Defendant Stonington Strategies and a registered agent of
                     11 Qatar. Significantly, none of the other individuals with whom Mr. Muzin was
S C H I L L E R




                     12 communicating was a registered agent of Qatar, fatally undermining Qatar’s core
                     13 claim to a legitimate interest in the protection of these materials from disclosure. Mr.
                     14 Allaham is an associate of Dr. Muzin who, only after being compelled to produce
                     15 documents and testify in this litigation, later registered as an agent of Qatar, in June
B O I E S




                     16 2018. (See Ex. 8 (Joseph Allaham, Short Form FARA Registration, June 15, 2018).)
                     17 Mr. Benomar is an associate of Mr. Allaham and Dr. Muzin, who left his position as
                     18 a high-ranking United Nations official sometime in late 2017. Plaintiffs understand
                     19 that Mr. Benomar was employed by the United Nations for much of the period
                     20 relevant to Qatar’s purported designations. Dr. Muzin and Messrs. Allaham and
                     21 Benomar never have been members of the Qatari diplomatic mission. Mr. Al-
                     22 Rumaihi is a former Qatari diplomat, but, as Qatar has made clear in an official
                     23 pronouncement, “Since March 2017, Mr. Al-Rumaihi has not represented the State of
                     24 Qatar in official matters. Nor is Qatar involved in any of his private business
                     25 matters.” See “Statement from Qatar’s Media Attache in Washington DC on Meeting
                     26
                     27                                         -3-                    Case No. 18-cv-02421-JFW
                                          JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                     28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 7 of 36 Page ID #:3770




                      1 with President Trump’s Transition Team,” May 16, 2018, available at
                      2 https://www.gco.gov.qa/en/2018/05/16/statement-from-qatars-media-attache-in-
                      3 washington-dc-on-meeting-with-president-trumps-transition-team/, and attached as
                      4 Ex. 9.
                      5          Qatar – which produced no documents in this case – purported to designate
                      6 third-party discovery materials after it was dismissed from this litigation,
                      7 notwithstanding the fact that the Protective Order makes clear that only “any Party to
L L P




                      8 the action may designate [materials] as protected under” the Protective Order. (Ex. 2,
F L E X N E R




                      9 F.2) (emphasis added). The documents Qatar purported to designate as Highly
                     10 Confidential include:
                     11             x Emails from Dr. Muzin to Messrs. Allaham and Benomar
S C H I L L E R




                     12
                     13
                     14                       (Ex.10 (PROD00000001-3); Ex. 11 (PROD00000004-6); Ex. 12
                     15                (PROD0000007-9); Ex. 13 (PROD00000010-19));
B O I E S




                     16             x WhatsApp messages amongst Dr. Muzin and Messrs. Allaham,
                     17                Benomar, and Al-Rumaihi discussing
                     18
                     19
                     20                                   (Ex. 14 (Prod00000024-25); Ex. 15
                     21                (PROD00000027); Ex. 16 (PROD00000051);2 and
                     22
                     23   2
                         Plaintiffs also objected to Qatar’s designation of one page of WhatsApp messages
                     24 as Confidential. In its September 14, 2018 response, Qatar withdrew that
                     25 designation.
                     26
                     27                                        -4-                     Case No. 18-cv-02421-JFW
                                          JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                     28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 8 of 36 Page ID #:3771




                      1            x Bank records
                      2                                                                                    (Ex.
                      3               17 (PROD00000067-74)).
                      4 Additionally, Qatar designated as Highly Confidential and Confidential portions of
                      5 the transcript of the deposition of Joseph Allaham. (Ex. 18 (Transcript of the
                      6 Deposition of Joseph Allaham, “Highly Confidential” portions highlighted in red and
                      7 “Confidential” portions highlighted in yellow).)
L L P




                      8         This issue is not mooted by this Court’s rulings on Defendants’ motions to
F L E X N E R




                      9 dismiss. To the contrary, Plaintiffs raise this issue precisely because the Court’s
                     10 rulings that it lacks personal jurisdiction over the GRA and Stonington Defendants in
                     11 this case effectively requires Plaintiffs to consider filing new lawsuits against them in
S C H I L L E R




                     12 other jurisdictions. Qatar’s improper designations serve no legitimate purpose, but
                     13 they do substantially interfere with Plaintiffs’ counsel’s ability to fully advise and
                     14 consult with their clients regarding the evidence in this case and the decision they
                     15 must make regarding continued litigation. Furthermore, they potentially require
B O I E S




                     16 Plaintiffs to conduct duplicative discovery in parallel proceedings and to jump
                     17 through the cumbersome and expensive hoops required to file new complaints under
                     18 seal so that there can be no allegations that Plaintiffs’ new complaints have somehow
                     19 violated this Court’s Protective Order. In addition, there currently is a case pending
                     20 in the Southern District of New York against Jamal Benomar alleging participation
                     21 by Mr. Benomar in the same conspiracy at issue here. Plaintiffs need to be able to
                     22 use the materials they have obtained from discovery in this matter in prosecuting the
                     23 related action against Mr. Benomar and the anticipated actions against defendants in
                     24 other districts. (See Ex. 2, D.1 (defining “Action” as “This pending federal lawsuit
                     25 and related actions”).)
                     26
                     27                                         -5-                    Case No. 18-cv-02421-JFW
                                          JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                     28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 9 of 36 Page ID #:3772




                      1         B.    Statement of Law
                      2         The Protective Order entered by this Court provides the mechanism for
                      3 designating materials as Highly Confidential. Under the Protective Order, a Highly
                      4 Confidential designation is proper only for information that is “(i) sensitive, non-
                      5 public, financial, marketing, customer, regulatory, research, development, personal,
                      6 or commercial information; (ii) information protected by the Vienna Convention on
                      7 Diplomatic Relations or the Vienna Convention on Consular relations, to the extent
L L P




                      8 such material is produced; or (iii) any other information relating to the conduct by
F L E X N E R




                      9 Qatar of its foreign policy.” (Ex. 2, D.4.) Although any party may designate
                     10 materials as Confidential or Highly Confidential, the Protective Order prohibits
                     11 designating an entire document as Confidential or Highly Confidential when only a
S C H I L L E R




                     12 portion of a document merits such a designation. (See id. (“Each Party or Non-Party
                     13 that designates information or items for protection under this Order must take care to
                     14 limit any such designation to specific material that qualifies under the appropriate
                     15 standards. The Designating Party must designate for protection only those parts of
B O I E S




                     16 material, documents, items or oral or written communications that qualify so that
                     17 other portions of the material, documents, items, or communications for which
                     18 protection is not warranted are not swept unjustifiably within the ambit of this
                     19 Order.”).)
                     20         Additionally, the Highly Confidential designation renders materials “attorneys’
                     21 eyes only,” (“AEO”), whereby a party to this litigation may not have access to said
                     22 materials unless he or she produced them. (Compare Ex. 2, H.3 with H.4.) Although
                     23 the Protective Order includes potential categories of documents that may deserve
                     24 AEO status, including those containing information protected by the Vienna
                     25 Conventions or that relate to the conduct of Qatar’s foreign policy, (id., D.4), a
                     26
                     27                                        -6-                     Case No. 18-cv-02421-JFW
                                          JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                     28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 10 of 36 Page ID
                                                    #:3773



                   1 designating party must nonetheless meet the high burden of establishing the necessity
                   2 of AEO status, even for documents falling within those categories. Courts view the
                   3 AEO designation as “a drastic remedy given its impact on the party entitled to the
                   4 information, in that it prevents a party from reviewing documents with counsel, and
                   5 can hamper the ability of the party to present his or her case.” Gillespie v. Charter
                   6 Commc’ns, 133 F. Supp. 3d 1195, 1201-02 (E.D. Mo. 2015) (internal citation
                   7 omitted). As a consequence, the AEO designation “should be reserved for only those
L L P




                   8 rare instances in which it is truly justified . . . and there is no other effective
F L E X N E R




                   9 alternative.” Ragland v. Blue Cross Blue Shield of N.D., No. 1:12–CV–080, 2013
                  10 WL 3776495, at *2 (D.N.D. June 25, 2013); see also Global Material Techs., Inc. v.
                  11 Dazheng Metal Fibre Co., Ltd., 133 F. Supp. 3d 1079, 1084 (N.D. Ill. 2015) (“The
S C H I L L E R




                  12 AEO designation must be used selectively because discovery and trial preparation are
                  13 made significantly more difficult and expensive when an attorney cannot make a
                  14 complete disclosure of relevant facts to a client and because it leaves the litigant in a
                  15 difficult position to assess whether the arguments put forward on its behalf are
B O I E S




                  16 meritorious.”). In order to justify an AEO designation, the designating party must
                  17 show that “unrestricted disclosure to others would create a substantial risk of serious
                  18 injury.” Scentsy, Inc. v. B.R. Chase, L.L.C., No. 1:11–cv–00249–BLW, 2012 WL
                  19 4523112, at *5 (D. Idaho Oct. 2, 2012); see also id. (“This standard is high. It does
                  20 not apply when there is any risk or any injury—the risk must be substantial and the
                  21 injury must be serious.”). Moreover, there is no “basis to designate
                  22 [communications] which contain . . . publicly available [information] … as highly
                  23 confidential AEO.” Ubiquiti Networks, Inc. v. Kozumi USA Corp., No. 12-CV-2582
                  24 CW (JSC), 2012 WL 12964820, at *2 (N.D. Cal. Dec. 13, 2012); Humphreys v.
                  25 Regents of Univ. of Cal., No. C-04-03808 SI (EDL), 2006 WL 3020902, at *3 (N.D.
                  26
                  27                                          -7-                    Case No. 18-cv-02421-JFW
                                        JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                                THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 11 of 36 Page ID
                                                    #:3774



                   1 Cal. Oct. 23, 2006); In re ULLICO Inc. Litig., 237 F.R.D. 314, 317 (D.D.C. 2006).
                   2        The Protective Order’s definition of “Highly Confidential” includes
                   3 “information protected by the Vienna Convention on Diplomatic Relations or the
                   4 Vienna Convention on Consular Relations.” (Ex. 2, D.4.) But that portion of the
                   5 definition is irrelevant to the documents at issue here. The Vienna Conventions do
                   6 not extend diplomatic privileges to communications from or among individuals who
                   7 are not part of the diplomatic mission. See Eileen Denza, Diplomatic Law:
L L P




                   8 Commentary on the Vienna Convention on Diplomatic Relations 189 (4th ed. 2016)
F L E X N E R




                   9 (quoting Summary of Records of the 10th Session, [1958] 1. Y.B. Int’l L. Comm’n
                  10 143, U/N. Doc. A/CN.4/SER.A/1958) (“The phrase ‘official correspondence of the
                  11 mission’ meant correspondence from the mission, that sent to the mission from its
S C H I L L E R




                  12 chancellery or other authorities of the sending state, and the correspondence between
                  13 the mission and consulates situated in the receiving state.“); Shearson Lehman Bros
                  14 Inc. v. Maclaine, Watson and Co Ltd; Int’l Tin Council (Intervener) (No 2) [1988] 1
                  15 All ER 116, 124-25 (Eng.) (records provided to third parties are not protected by the
B O I E S




                  16 Vienna Convention). The inviolability of “official correspondence” within the
                  17 meaning of the Vienna Convention on Diplomatic Relations (“VCDR”) “is not really
                  18 dealing with the correspondence between the mission and the outside world; it is
                  19 really dealing with internal correspondence [within a government].” Investigation
                  20 into Abductions of American Children to Saudi Arabia: Hearing Before the H.
                  21 Comm. on Govt. Reform, 107th Cong. 1326 (2002) (statement of Professor Eileen
                  22 Denza). The VCDR contains a circumscribed definition of those considered
                  23 members of a diplomatic mission. See VCDR, Apr. 18, 1961, 23 U.S.T. 3227, art.
                  24 10(a) (notice of “the appointment of members of the mission [and] their arrival” must
                  25 be provided to the receiving State); art. 8(2) (“Members of the diplomatic staff of the
                  26
                  27                                        -8-                     Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 12 of 36 Page ID
                                                    #:3775



                   1 mission may not be appointed from among persons having the nationality of the
                   2 receiving State, except with the consent of that State which may be withdrawn at any
                   3 time.”). Here, the documents that Qatar seeks to hide were created by, or exchanged
                   4 among, persons not part of its diplomatic mission; the Vienna Conventions therefore
                   5 do not apply.
                   6         In any challenge to a designation under the Protective Order, the “burden of
                   7 persuasion” is on the “designating party” to support each designation. (Ex. 2, G.4.)
L L P




                   8 “As a general rule, the public is permitted ‘access to litigation documents and
F L E X N E R




                   9 information produced during discovery.’” In re Roman Catholic Archbishop of
                  10 Portland in Oregon, 661 F.3d 417, 424 (9th Cir. 2011) (quoting Phillips v. Gen.
                  11 Motors Corp., 307 F.3d 1206, 1210 (9th Cir. 2002) and citing San Jose Mercury
S C H I L L E R




                  12 News, Inc. v. U.S. Dist. Court, 187 F.3d 1096, 1103 (9th Cir.1999) (“It is well-
                  13 established that the fruits of pretrial discovery are, in the absence of a court order to
                  14 the contrary, presumptively public.”)). And “conclusory representations” from a
                  15 designating party “fall short of the showing required” to meet the assigned burden.
B O I E S




                  16 Ubiquiti Networks, Inc., No. 12-CV-2582 CW (JSC), at *1.
                  17         C.     Plaintiffs’ Challenges to Qatar’s Designations
                  18         Plaintiffs challenge the following designations made by Qatar:
                  19                1. Emails to or from Mr. Muzin Containing Proposed Lobbying
                  20                   Strategy (Exs. 10-13 (PROD000000001-PROD000000019))
                  21         Qatar designated four emails written by Dr. Muzin as Highly Confidential.
                  22 (Exs. 10-13.) Dr. Muzin addressed these emails , dated September 10 and 18, 2017,
                  23 to either Mr. Allaham or both Messrs. Allaham and Benomar. Each email attached
                  24 materials
                  25                                                                                             .
                  26
                  27                                         -9-                    Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 13 of 36 Page ID
                                                    #:3776



                   1
                   2
                   3
                   4         Designating these emails as Highly Confidential is inappropriate. First, Qatar
                   5 fails to explain what legitimate interest would be harmed if these emails became fully
                   6 public, much less what, if any, “substantial risk of serious injury” it faces from not
                   7 affording them AEO protection. See Scentsy, Inc., 2012 WL 4523112, at *5. To
L L P




                   8 justify an AEO designation, a designating party must show that there is “no effective
F L E X N E R




                   9 alternative” other than precluding another party from viewing the designated
                  10 documents. See Ragland, 2013 WL 3776495, at *2. Because Qatar fails to explain
                  11 why disclosure of these emails presents any “substantial risk of serious injury,” its
S C H I L L E R




                  12 designations should be rejected.
                  13         Second, the emails do not warrant a Highly Confidential designation because
                  14 they discuss publicly available information. Documents that are based on publicly
                  15 available information cannot enjoy a Highly Confidential designation. See Ubiquiti
B O I E S




                  16 Networks, Inc., 2012 WL 12964820, at *2; Humphreys, 2006 WL 3020902, at *3; In
                  17 re ULLICO Inc. Litig., 237 F.R.D. at 317. On August 29, 2018, the Wall Street
                  18 Journal reported that Qatar, via Dr. Muzin and Mr. Allaham, targeted 250
                  19 “influencers” who were close to President Trump in an effort to have President
                  20 Trump side with Qatar against a blockade placed upon it by its neighbors. Julie
                  21 Bykowicz, “The New Lobbying: Qatar Targeted 250 Trump ‘Influencers’ to Change
                  22 U.S. Policy,” Wall Street Journal, August 29, 2018, available at
                  23 https://www.wsj.com/articles/the-new-lobbying-qatar-targeted-250-trump-
                  24 influencers-to-change-u-s-policy-1535554647, and attached as Ex. 19. Based on
                  25 interviews with Dr. Muzin and Mr. Allaham, the article stated that in late 2017 “[t]he
                  26
                  27                                       - 10 -                   Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 14 of 36 Page ID
                                                    #:3777



                   1 Qataris agreed to their influencer-list proposal[.]” Id. Similarly, Dr. Muzin and Mr.
                   2 Allaham have provided extensive documentation of their lobbying campaign to the
                   3 Department of Justice as required under the Foreign Agents Registration Act
                   4 (“FARA”). (See Ex. 20 (Stonington Strategies, FARA Supplemental Statement, May
                   5 22, 2018); Ex. 21 (Lexington Strategies, FARA Registration Statement, June 15,
                   6 2018).) Yet these publicly disclosed
                   7                                                                      (See Ex. 10 at
L L P




                   8 PROD000000002
F L E X N E R




                   9                                                             Ex. 11 at
                  10 PROD000000005 (same); Ex.12 at PROD000000008 (same); Ex.13 at
                  11 PROD000000013
S C H I L L E R




                  12
                  13           Because the information contained in the emails Qatar wishes to designate
                  14 as Highly Confidential is now public and appears to have been in fact thrust into the
                  15 public domain by Qatar itself, Qatar has no grounds for such a designation.
B O I E S




                  16        Third, because the emails are not protected by the Vienna Conventions, those
                  17 conventions provide no basis for designating the emails as Highly Confidential. As
                  18 explained supra, Sec. B, the privileges offered by the Vienna Conventions do not
                  19 extend to communications from or among individuals who are not part of a nation’s
                  20 diplomatic mission, much less to individuals pitching business to such a mission. Dr.
                  21 Muzin and Messrs. Allaham and Benomar are not now nor have they ever been
                  22 members of the Qatari diplomatic mission and at the time they wrote the proposals
                  23 they were not even Qatari agents. Indeed, despite the requirement that Qatar provide
                  24 notice to the United States of the appointment and arrival of the members of their
                  25 diplomatic mission, see VCDR, art. 10(a), Qatar has never provided such notice for
                  26
                  27                                      - 11 -                   Case No. 18-cv-02421-JFW
                                      JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                              THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 15 of 36 Page ID
                                                    #:3778



                   1 the three men in question.
                   2        Dr. Muzin’s authorship of the emails Qatar wishes to designate as Highly
                   3 Confidential confirms that the Vienna Conventions do not protect those documents.
                   4 Although the Vienna Conventions require that Qatar receive the approval of the
                   5 United States before naming an American citizen to be a member of its diplomatic
                   6 staff in the United States, VCDR, art. 8(2), Qatar has never requested, and the United
                   7 States has never given, approval for Dr. Muzin, a U.S. citizen, to serve as a member
L L P




                   8 of Qatar’s diplomatic staff. Stated simply, Qatar cannot assert that emails from an
F L E X N E R




                   9 American lobbyist to his business associates implicate protections provided to Qatar
                  10 under the Vienna Conventions.3
                  11   3
                       The law is clear that documents in the possession of a FARA agent will have to be
S C H I L L E R




                  12 disclosed and will not be protected from disclosure under the Vienna Conventions.
                  13 Section 615 requires FARA agents to keep all “records with respect to all [their]
                     activities” while they are “agent[s] of a foreign principal,” and requires them to
                  14 “open” them for inspection by “any official charged with the enforcement” of FARA.
                  15 22 U.S.C. § 615. FARA is a “disclosure statute.” Attorney Gen. of U.S. v. Covington
B O I E S




                     & Burling, 411 F. Supp. 371, 373 (D.D.C. 1976). When lobbyists for a foreign state
                  16 tried to argue that their documents were protected under the Vienna Conventions, the
                  17 House of Representatives strongly refuted this position:
                  18           Simply put, the Vienna Convention extends broad protections to diplomatic
                               agents of a foreign government, as well as some more limited protections to
                  19           foreign nationals who are employed by a diplomatic mission in other
                  20           capacities, but it has no application to American citizens who choose to sell
                               their services as public relations/lobbying mouthpieces for foreign interests.
                  21
                               To the contrary, [FARA] makes clear that the activities of such
                  22           “propagandists,” including the documents they generate, send and receive
                               in the course of those activities, are to be subject to the “spotlight of pitiless
                  23
                               publicity” so that the American people may be fully informed of both the
                  24           identity of the propagandists and the nature of the activities they undertake
                               on behalf of their foreign masters.
                  25
                  26
                  27                                        - 12 -                 Case No. 18-cv-02421-JFW
                                      JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                              THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 16 of 36 Page ID
                                                    #:3779



                   1        Finally, even if the Court finds that portions of the emails should enjoy a
                   2 Highly Confidential designation, it should not allow Qatar to apply that designation
                   3 to the entirety of those documents. The Protective Order explicitly requires a
                   4 designating party to “take care to limit any such designation to specific material that
                   5 qualifies under the appropriate standards” and “designate for protection only those
                   6 parts of material, documents, items or oral or written communications that qualify.”
                   7 (Ex. 2, F.1.) Qatar has not even attempted to justify applying the Highly Confidential
L L P




                   8 designation to the entirety of the emails rather than specific portions of them. For
F L E X N E R




                   9 example, there is no basis for designating as Highly Confidential the cover emails to
                  10 which Dr. Muzin’s lobbying proposals are attached. Dr. Muzin sent those proposals
                  11 as attachments to cursory emails that contain no confidential information. (See Ex.
S C H I L L E R




                  12 10 at PROD000000001; Ex. 11 at PROD000000004; Ex. 12 at PROD000000007; Ex.
                  13 13 at PROD000000010.) Qatar’s designation of those cover emails as Highly
                  14 Confidential is the very sort of “mass” and “indiscriminate” designation the
                  15 Protective Order prohibits.
B O I E S




                  16               2. WhatsApp Messages Amongst Nick Muzin, Joseph Allaham,
                  17                  Jamal Benomar, and Ahmed Al-Rumaihi (Ex. 14 (Prod00000024-
                  18                  25); Ex. 15 (PROD00000027); Ex. 16 (PROD00000051))
                  19        Qatar designated as Highly Confidential portions of WhatsApp messages
                  20 amongst Dr. Muzin and Messrs. Allaham, Benomar, and Al-Rumaihi. (Ex. 14
                  21 (Prod00000024-25); Ex. 15 (PROD00000027); Ex. 16 (PROD00000051).) For the
                  22
                     Congressman Dan Burton to His Royal Highness Prince Bandar bin Sultan bin
                  23 Abdulaziz, November 21, 2002, attached as Ex. 22.
                  24
                  25
                  26
                  27                                       - 13 -                   Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 17 of 36 Page ID
                                                    #:3780



                   1 reasons explained below, the Court should reject Qatar’s proposed designations.
                   2        First, as shown above, because Qatar fails to explain why disclosure of these
                   3 WhatsApp messages presents any “substantial risk of serious injury,” it cannot justify
                   4 an AEO designation for the messages. See Scentsy, Inc., 2012 WL 4523112, at *5.
                   5 These WhatsApp messages do not involve any sensitive matters. Mr. Allaham in fact
                   6 states in a February message that
                   7         (Ex.14 at PROD000000024). In another message, Mr. Allaham
L L P




                   8
F L E X N E R




                   9         (Ex. 14 at PROD000000024).
                  10                                                   cannot possibly implicate the
                  11 protections Qatar seeks.
S C H I L L E R




                  12        Second, the subject matter of the WhatsApp messages is already publicly
                  13 available. Documents that are based on publicly available information, such as the
                  14 WhatsApp messages, cannot enjoy a Highly Confidential designation. See Ubiquiti
                  15 Networks, Inc., 2012 WL 12964820, at *2; Humphreys, 2006 WL 3020902, at *3; In
B O I E S




                  16 re ULLICO Inc. Litig., 237 F.R.D. at 317. One WhatsApp message includes Mr.
                  17 Allaham sending                                                           to Mr.
                  18 Benomar. (Ex. 14 at PROD00000024-25.) Another WhatsApp message includes Dr.
                  19 Muzin sending                                           to Messrs. Allaham and
                  20 Benomar. (Ex. 16 at PROD00000051.) Additionally, as explained supra Sec. C(1),
                  21 both reports in the press and Dr. Muzin’s and Mr. Allaham’s own FARA disclosures
                  22 revealed Dr. Muzin and Mr. Allaham’s strategy of targeting “influencers” to help
                  23 sway American foreign policy. There is consequently no basis for designating as
                  24 Highly Confidential WhatsApp messages in which Dr. Muzin and Messrs. Allaham
                  25 and Benomar discuss                 . (See Ex. 15 at PROD00000027; Ex. 16 at
                  26
                  27                                      - 14 -                   Case No. 18-cv-02421-JFW
                                      JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                              THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 18 of 36 Page ID
                                                    #:3781



                   1 PROD00000051.)
                   2        Third, the Vienna Conventions do not provide a basis for designating the
                   3 WhatsApp messages as Highly Confidential. As explained supra, Sec. B, the
                   4 privileges offered by the Vienna Conventions do not extend to communications from
                   5 or among individuals who are not part of a nation’s diplomatic mission. Dr. Muzin
                   6 and Messrs. Allaham, Benomar, and Al-Rumaihi were not members of the Qatari
                   7 diplomatic mission at the time they sent the WhatsApp messages. Dr. Muzin and
L L P




                   8 Messrs. Allaham and Benomar have never been members of the Qatari diplomatic
F L E X N E R




                   9 mission, see Sec. A, and Qatar confirmed publicly that Mr. Al-Rumaihi ceased being
                  10 a Qatari diplomat in March 2017. See “Statement from Qatar’s Media Attache in
                  11 Washington DC on Meeting with President Trump’s Transition Team,” May 16,
S C H I L L E R




                  12 2018, available at https://www.gco.gov.qa/en/2018/05/16/statement-from-qatars-
                  13 media-attache-in-washington-dc-on-meeting-with-president-trumps-transition-team/,
                  14 and attached as Ex. 9. Because all of the WhatsApp messages occurred well after
                  15 March 2017, the communications occurred at a time when none of the participants
B O I E S




                  16 was a member of the Qatari diplomatic mission. (See Ex. 14 at PROD00000024-25;
                  17 Ex. 15 at PROD00000027; Ex. 16 at PROD00000051.)
                  18        Finally, Qatar again fails to explain why the Highly Confidential designation
                  19 should apply to the entirety of the WhatsApp messages.4 As the Protective Order
                  20 explicitly prohibits “mass” and “indiscriminate” designations, Qatar has an obligation
                  21 to limit its designations to only the necessary portions of a document. (Ex. 2, F.1.)
                  22 Yet Qatar indiscriminately designated portions of the WhatsApp messages that
                  23
                  24   4
                      Unlike the WhatsApp messages found at Exs. 14 and 16, Qatar has designated as
                  25 Highly Confidential only a portion of the WhatsApp messages found at Ex. 15.
                  26
                  27                                       - 15 -                   Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 19 of 36 Page ID
                                                    #:3782



                   1 clearly do not warrant Highly Confidential treatment. For example, as mentioned
                   2 above, several WhatsApp messages contain
                   3                        (See Ex. 14 at PROD00000024-25; Ex.16 at PROD00000051.)
                   4 Even if some portions of the WhatsApp messages deserve a Highly Confidential
                   5 designation—and they do not for the reasons already stated—Qatar cannot justify
                   6 such a designation for all portions of the messages.
                   7               3. Bank Records Showing
L L P




                   8                                    (Ex. 17 (PROD000000067 to PROD000000074))
F L E X N E R




                   9        Qatar has designated as Highly Confidential bank records
                  10
                  11                                                     (See Ex. 17 (PROD00000067-74).)
S C H I L L E R




                  12 The Court should reject that designation.
                  13        First, as explained supra Sec. C(1), because Qatar fails to explain why
                  14 providing these bank records to both counsel for Plaintiffs and Plaintiffs themselves
                  15 presents any “substantial risk of serious injury,” it cannot justify an AEO designation
B O I E S




                  16 for the messages. See Scentsy, Inc., 2012 WL 4523112, at *5.
                  17        Second, Mr. Allaham already publicly disclosed the payment and the amount
                  18 thereof in his FARA disclosures. (See Ex. 21 (Lexington Strategies, FARA
                  19 Registration Statement, June 15, 2018).) Because the information contained in the
                  20 bank records is already publicly available, Qatar cannot designate those records as
                  21 Highly Confidential. See Ubiquiti Networks, Inc., 2012 WL 12964820, at *2;
                  22 Humphreys, 2006 WL 3020902, at *3; In re ULLICO Inc. Litig., 237 F.R.D. at 317.
                  23        Third, the Vienna Conventions do not provide a basis for designating the bank
                  24 records as Highly Confidential. As explained supra Sec. B, the privileges offered by
                  25 the Vienna Conventions do not extend to communications from or among individuals
                  26
                  27                                       - 16 -                  Case No. 18-cv-02421-JFW
                                      JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                              THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 20 of 36 Page ID
                                                    #:3783



                   1 who are not part of a nation’s diplomatic mission. Because the bank records only
                   2 deal with
                   3                                                 , see Sec. C(2), those payments did not
                   4 come from a member of the Qatari diplomatic mission.
                   5               4. The Transcript Of The Deposition Of Joseph Allaham (Ex. 18)
                   6        Qatar has designated as Highly Confidential or Confidential significant
                   7 portions of the transcript of the deposition of Mr. Allaham. (Ex. 18) Qatar offers no
L L P




                   8 independent basis for these designations except that the deposition included
F L E X N E R




                   9 discussion of documents that Qatar has designated as Highly Confidential or
                  10 Confidential. For the same reasons that the designations of those documents are
                  11 inappropriate, the corresponding designations of these portions of the transcript of the
S C H I L L E R




                  12 deposition of Mr. Allaham are also inappropriate.
                  13
                  14                                         *****
                  15        This is a classic case of abuse of a Protective Order to hamper the other side
B O I E S




                  16 and to hide from public scrutiny documents that are embarrassing and inconvenient
                  17 for Qatar and the other Defendants but that do not contain trade secrets, personal
                  18 information, or other material of the sort appropriately kept confidential. This Court
                  19 should, therefore, rule that the documents at issue are not even appropriately
                  20 designated Confidential, much less Highly Confidential.5
                  21                                 QATAR’S POSITION
                  22        Having soundly lost this case in the Central District of California, Elliot
                  23
                  24   5
                      As required by Local Rule 37-2, attached as Ex. 23 is a true and correct copy of the
                  25 current case management order in this matter.
                  26
                  27                                       - 17 -                   Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 21 of 36 Page ID
                                                    #:3784



                   1 Broidy—a self-professed political enemy of Qatar—now proposes to waste the
                   2 Court’s time on a discovery dispute that serves no legitimate purpose and that is in
                   3 fact a vehicle for continuing his ongoing campaign to denigrate Qatar in the public
                   4 arena.
                   5          The Court should deny Plaintiffs’ challenges to Qatar’s confidentiality
                   6 designations. First, countenancing Plaintiffs’ motion at this juncture would be an
                   7 unjustifiable waste of judicial resources, because the procedural posture of this case
L L P




                   8 means there is no possibility of active litigation until after the appeal is decided.
F L E X N E R




                   9 Second, Plaintiffs themselves admit that the information subject to Qatar’s
                  10 designations can have no bearing in this case, and therefore can only possibly be
                  11 relevant in either the “court of public opinion” or in potential cases in other
S C H I L L E R




                  12 districts—an inappropriate use of the Court’s discovery functions. Third, if the Court
                  13 proceeds to consider this motion, it should affirm Qatar’s confidentiality designations
                  14 because they squarely comport with the definitions of “Confidential” and “Highly
                  15 Confidential” in the Protective Order entered by this Court.
B O I E S




                  16          A.    Any Action on Plaintiffs’ Challenge Should be Held in
                  17                Abeyance Given the Current Procedural Posture of the Case.
                  18          This case is over. All of the Defendants that have been served were dismissed
                  19 by the Court for lack of jurisdiction. Dkts. 198, 209, 212. Thereafter, the Court
                  20 strongly suggested that Plaintiffs should agree to voluntarily dismiss the Unserved
                  21 Defendants, which they then did. Dkt. 223. The Court then entered an Order of
                  22 Final Judgment. Dkt. 227. There is clearly no pending case in the Central District of
                  23 California, and the only legitimate way for Plaintiffs to proceed is to appeal to the
                  24 Ninth Circuit, which they have already done. Dkt. 221.
                  25          As there is no active litigation in the district court, Plaintiffs’ insistence on
                  26
                  27                                          - 18 -                 Case No. 18-cv-02421-JFW
                                        JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                                THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 22 of 36 Page ID
                                                    #:3785



                   1 motions practice with regard to confidentiality designations is wholly inappropriate
                   2 and a waste of judicial and party resources. It is clear to all parties—including
                   3 Plaintiffs—that the only situation in which disputes about confidentiality designations
                   4 could possibly be relevant to this action is in the unlikely event that the Ninth Circuit
                   5 reverses the Court’s order dismissing Qatar, and remands the case for further
                   6 proceedings. Unless and until that time, Qatar respectfully submits that the Court
                   7 should hold this and any other discovery-related motion in abeyance, as it can serve
L L P




                   8 no purpose in furthering this case. See Landis v. N. Am. Co., 299 U.S. 248, 254
F L E X N E R




                   9 (1936) (“[T]he power to stay proceedings is incidental to the power inherent in every
                  10 court to control the disposition of the causes on its docket with economy and time
                  11 and effort for itself, for counsel, and for litigants.”).6
S C H I L L E R




                  12         B.     Plaintiffs’ Purposes in Pursuing This Discovery Motion are
                  13                Improper and Outside of the Scope of Rule 26.
                  14         The purpose of discovery—and by extension discovery-related motions—is to
                  15 “facilitate orderly preparation for trial, not to educate or titillate the public.” Joy v.
B O I E S




                  16 North, 692 F.2d 880, 893 (2d Cir. 1982). Plaintiffs have not even attempted to hide
                  17 that their true agenda in filing this case and in aggressively serving over eighty
                  18 subpoenas is to “titillate the public” by advancing a press campaign against Qatar,
                  19 their admitted political adversary. Recent articles in the national news could not
                  20 make this more evident. On the same day that the Court ordered Plaintiffs to dismiss
                  21 the remaining unserved Defendants, Dkt. 216, effectively ending this case, the New
                  22 York Times published an article detailing the purported results of an electronic data
                  23   6
                       Importantly, the Court’s inherent power to manage its docket toward the goal of
                  24 judicial efficiency exists even if the Court retains jurisdiction over Protective Order
                  25 matters throughout the course of the appeal.
                  26
                  27                                          - 19 -                 Case No. 18-cv-02421-JFW
                                        JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                                THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 23 of 36 Page ID
                                                    #:3786



                   1 subpoena return—information which the Times could only have received from a
                   2 party. See David D. Kirkpatrick, Hackers Went After a Now-Disgraced G.O.P.
                   3 Fundraiser. Now He Is After Them, Sept. 20, 2018, available at
                   4 https://www.nytimes.com/2018/09/20/world/middleeast/broidy-trump-hackers-
                   5 qatar.html, and attached as Ex. 24. In that article, Plaintiffs’ lead attorney, Lee
                   6 Wolosky, was quoted as stating that although Plaintiffs have lost the case before
                   7 Judge Walter, the subpoena response purportedly “establishes in the court of public
L L P




                   8 opinion what really happened.” Id. (emphasis added).
F L E X N E R




                   9         After saying one thing to the Times, Plaintiffs make an about face and here
                  10 complain to the Court that they need unfettered access to confidential discovery
                  11 materials in order to “consider filing new lawsuits” against other parties in other
S C H I L L E R




                  12 jurisdictions. Supra p. 5-6. But the purpose of discovery is to prepare for trial in this
                  13 case, not hypothetical separate cases that Plaintiffs may or may not choose to file
                  14 against other parties in other districts. “[D]iscovery, like all matters of procedure, has
                  15 ultimate and necessary boundaries.” Oppenheimer Fund, Inc. v. Sanders, 437 U.S.
B O I E S




                  16 340, 351-52 & n.5 (1978). And the Supreme Court has made clear that discovery is
                  17 outside of the necessary boundaries of Rule 26 when it is sought for the purpose of
                  18 “gather[ing] information for use in proceedings other than the pending suit.” Id.
                  19 (emphasis added). The Court cannot “blind itself to the purpose” for which Plaintiffs
                  20 bring this discovery motion, which is clearly not “aimed at illuminating issues in the
                  21 case” before this Court. Id. at 354. “[I]t is not appropriate, and there is not good
                  22 cause,” to pursue discovery in a case “solely to obtain information that will be used in
                  23 another lawsuit in a different venue.” Nu Image, Inc. v. Does 1-23,322, 799 F. Supp.
                  24 2d 34, 41-42 (D.D.C. 2011).
                  25         Plaintiffs parenthetically suggest that the suits they are considering filing
                  26
                  27                                        - 20 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 24 of 36 Page ID
                                                    #:3787



                   1 justify intruding on the time and resources of this Court because they are “related”
                   2 cases and thus within the scope of the terms of the Protective Order. See supra p. 6.
                   3 They are wrong. The phrase “related actions” in the Protective Order was clearly
                   4 never intended to capture all cases Plaintiffs subjectively believe may be relevant,
                   5 including those that have yet to be filed in other districts. In contrast to Plaintiffs’
                   6 invented definition, the term “related case” is actually defined in the local rules: it
                   7 applies where two or more civil cases “filed in this District” arise from closely-
L L P




                   8 related factual circumstances. Local Rule 83-1.3.1 (emphasis added).7 This excludes
F L E X N E R




                   9 from the scope of the Protective Order Plaintiffs’ pending suit in the Southern
                  10 District of New York against Jamal Benomar, as well as any forthcoming suits they
                  11 may file against the Stonington and GRA Defendants in other jurisdictions.
S C H I L L E R




                  12         C.     Qatar’s Designations Are Proper Under the Protective Order.
                  13         If the Court does decide to wade into premature challenges raised by Plaintiffs
                  14 notwithstanding these prudential considerations, it should find that Qatar’s
                  15 designations are entirely appropriate and consistent with the Protective Order entered
B O I E S




                  16
                  17   7
                       Plaintiffs are already well-apprised of this local rule, as the docket sheet in this case
                  18 prominently shows that there are two actually “Related Cases” associated with this
                  19 matter. They are miscellaneous cases involving subpoena disputes. See Broidy
                     Capital Management LLC v. Allaham, No. 2:18-mc-00095-JFW-E (C.D. Cal. 2018);
                  20 Sport Trinity LLC v. Broidy Capital Management LLC, 2:18-mc-00105-JFW-E (C.D.
                  21 Cal. 2018). In the miscellaneous case against Mr. Allaham, Plaintiffs themselves
                     filed a “Notice of Related Case” pursuant to Local Rule 83-1.3, demonstrating their
                  22 familiarity with this rule and the proper definition of “Related Case.” Notice of
                  23 Related Civil Cases, Allaham, No. 2:18-mc-00095-JFW-E (C.D. Cal. July 17, 2018),
                     Dkt. 28. They have not filed any such notice with respect to the Benomar litigation
                  24 in the SDNY, because it is outside of this district and therefore does not meet the
                  25 definition of “Related Case.”
                  26
                  27                                         - 21 -                 Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 25 of 36 Page ID
                                                    #:3788



                   1 in this case.
                   2                 1. The Entered Protective Order Defines All Information Relating to
                   3                    Qatar’s Foreign Policy as “Highly Confidential.”
                   4         Plaintiffs spend the bulk of their “Statement of Law” section haggling over the
                   5 scope of the Vienna Convention, and the definition of “Highly Confidential” or
                   6 “Attorneys Eyes Only,” as such terms are used in other cases under different entered
                   7 protective orders. See supra p. 7-9. Much, if not all, of this line of argument is
L L P




                   8 completely beside the point.8 The Protective Order that was entered by this Court,
F L E X N E R




                   9 which adopted in full all of the terms of Qatar’s proposed order after adversarial
                  10 briefing, defines “Highly Confidential” as including any information that is “(i)
                  11 sensitive, non-public, financial, marketing, customer, regulatory, research,
S C H I L L E R




                  12 development, personal, or commercial information; (ii) information protected by the
                  13 Vienna Convention on Diplomatic Relations or the Vienna Convention on Consular
                  14 Relations, to the extent such material is produced; or (iii) any other information
                  15 relating to the conduct by Qatar of its foreign policy.” (Ex. 2, D.4) (emphasis
B O I E S




                  16 added). In their stated position, Plaintiffs virtually ignore this third definition of
                  17 “Highly Confidential,” which is disjunctive from the other two definitions. All of the
                  18 material designated as Highly Confidential by Qatar is properly designated, because
                  19
                       8
                  20     For instance, Plaintiffs spill much ink about the high bar for AEO designations, but
                  21   their position makes clear that they really want the material to be wholly public so
                       they can (1) use it in other lawsuits without needing to file under seal, and (2)
                  22   disclose it to the press in aid of their smear campaign against Qatar. Moreover,
                  23   Plaintiffs’ concern that filing under seal would require “cumbersome and expensive
                       hoops” is overblown. Filing under seal is commonplace in lawsuits involving
                  24   sensitive matters, and it is the least Plaintiffs should have to do if they want to use
                  25   discovery from this case to mount new lawsuits against dismissed defendants.

                  26
                  27                                         - 22 -                  Case No. 18-cv-02421-JFW
                                        JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                                THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 26 of 36 Page ID
                                                    #:3789



                   1 it is information “relating to the conduct by Qatar of its foreign policy,” regardless of
                   2 whether it also meets the standards of the Vienna Convention or whether it is
                   3 equivalent to a corporate trade secret. Plaintiffs cannot now relitigate whether that
                   4 definition should be included the Protective Order, having already had an
                   5 (unsuccessful) opportunity to do so.
                   6         Furthermore, Plaintiffs suggest that Qatar’s designations under the Protective
                   7 Order were inappropriate as a general matter because Qatar was not a “party” at the
L L P




                   8 time the designations were due on September 6, 2018. Supra p. 5. That is nothing
F L E X N E R




                   9 more than an accident of timing. At the time designations were due, there were no
                  10 served defendants remaining in this case because they all had been dismissed by the
                  11 Court. Plaintiffs’ suggestion that designations are therefore inappropriate would
S C H I L L E R




                  12 mean that they get an evidentiary windfall whereby no defendant is able to designate
                  13 documents as confidential due to the fact that Plaintiffs lost their case before the
                  14 Court. Such a perverse result is completely at odds with the intended effect of the
                  15 entered Protective Order, whereby the Court recognized that Qatar’s important
B O I E S




                  16 foreign policy interests were at stake, and that documents relating to that information
                  17 should receive Highly Confidential treatment. It is perfectly appropriate and wholly
                  18 consistent with the Protective Order that Qatar should be able to designate documents
                  19 implicating its diplomatic or foreign policy work.
                  20               2. The Vienna Convention Protects Communications Relating to
                  21                   Qatar’s Diplomatic Mission, Regardless of Source.
                  22         In addition to the fact that the information designated by Qatar is Highly
                  23 Confidential because it relates to Qatar’s conduct of its foreign policy, at least some
                  24 of that information is also protected by the Vienna Convention and is thus properly
                  25 designated. Plaintiffs continue to incorrectly conflate registration under the FARA
                  26
                  27                                        - 23 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 27 of 36 Page ID
                                                    #:3790



                   1 statute with the bounds of the Vienna Convention, supra p. 4, when the Vienna
                   2 Convention explicitly states that information is inviolable “at all times and wherever
                   3 they may be,” regardless of whether the custodian of information is a formal member
                   4 of the diplomatic mission or not. Vienna Convention on Diplomatic Relations, art.
                   5 24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95 (emphasis added). There are no
                   6 exceptions to this inviolability. 767 Third Ave. Assocs. v. Permanent Mission of
                   7 Republic of Zaire to United Nations, 988 F.2d 295, 300 (2d Cir. 1993); Ewald v.
L L P




                   8 Royal Norwegian Embassy, No. 11:-CV-2116 SRN/SER, 2011 WL 6094600, at *5
F L E X N E R




                   9 (D. Minn. Nov. 20, 2013).
                  10         Plaintiffs rely on Shearson Lehman Bros Inc. v. Maclain, Watson & Co. Ltd;
                  11 International Tin Council (Intervener) (No 2) [1988] 1 All ER 116, 124-25 (Eng.) to
S C H I L L E R




                  12 broadly state that no diplomatic material can be protected if it was sent to “third
                  13 parties.” This foreign court citation is overstated, non-binding, and inapplicable.
                  14 The subject matter of the discussion and material designated by Qatar explicitly relate
                  15 to the work of Qatar’s diplomatic mission, and involve FARA-registered Qatari
B O I E S




                  16 agents, their subagents and contractors, and others that were working for or with
                  17 Qatar to advance Qatar’s diplomatic objectives. Nothing in the Vienna Convention
                  18 provides any limitations based on whether a particular individual was formally
                  19 registered as a “diplomat” under the Vienna Convention or as an agent under the
                  20 FARA statute.9
                  21   9
                       Plaintiffs inappropriately assert that FARA itself strips the Vienna Convention’s
                  22 document protections of all meaning. Supra p. 11 & n.3. Although FARA allows the
                  23 Attorney General, in very limited circumstances, to inspect the books and records of
                     a FARA agent, this inspection right does not extend to private plaintiffs in civil
                  24 litigation. Attorney General v. Covington & Burling, 442 F. Supp. 371, 373 (D.D.C.
                  25 1976). And FARA certainly does not support the claim that if such documents are
                  26
                  27                                       - 24 -                   Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 28 of 36 Page ID
                                                    #:3791



                   1         In fact, the State Department has submitted this exact position to Congress. It
                   2 specifically stated that the Shearson case from the United Kingdom does not apply
                   3 where a foreign government hires or works with local individuals to pursue its
                   4 diplomatic work.10 The State Department explicitly said that if the courts of another
                   5 country tried to seek similar information from its local contractors abroad, the United
                   6 States would “object strongly” and would “argue that the information is protected
                   7 under the Vienna Convention.” Id.
L L P




                   8
F L E X N E R




                   9
                  10
                       produced, they cannot be properly designated as Highly Confidential under the terms
                  11
                       of a duly-entered Protective Order. In discussing the limited access available to the
S C H I L L E R




                  12   Attorney General, the district court in Covington & Burling noted that it was “very
                       unlikely” such an inspection would ever result in “public disclosure of confidential
                  13
                       conversations” of a FARA registrant, suggesting that even under the special auspices
                  14   of the Attorney General, such material should never in the normal course enter the
                  15   public record. Id. Much of the information designated as Highly Confidential by
B O I E S




                       Qatar is just such material—communications and files of Qatar’s registered agent,
                  16   Defendant Muzin, directly related to his work for Qatar. See Ex.10 PROD00000001-
                  17   3); Ex. 11 (PROD00000004-6); Ex. 12 (PROD0000007-9); Ex. 13 (PROD00000010-
                       19); (Ex. 14 (Prod00000024-25); Ex. 15 (PROD00000027); Ex. 16
                  18   (PROD00000051).
                       10
                  19      Investigation into Abductions of American Children to Saudi Arabia Before the
                       House Comm. on Gov’t Reform, Serial No. 107-83 at 1467, 107th Cong. (2002),
                  20   attached as Ex. 25. Plaintiffs cite to a statement by a professor and an individual
                  21   congressman in this same hearing to support their alternate contention. Supra p. 12
                       & n.3. But the State Department’s interpretation of the Vienna Convention, unlike
                  22   the interpretations of an academic and a single lawmaker, is actually entitled to legal
                  23   deference. United States v. Jimenez-Nava, 243 F.3d 192, 197 (5th Cir. 2001) (the
                       State Department’s interpretation of the Vienna Convention “is entitled to substantial
                  24   deference”). See also United States v. De la Pava, 268 F.3d 157, 164 n. 6 (2d Cir.
                  25   2001); United States v. Al-Hamdi, 356 F.3d 564, 570 (4th Cir. 2004).

                  26
                  27                                        - 25 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 29 of 36 Page ID
                                                    #:3792



                   1               3. Qatar’s Confidentiality Designations are Proper and Should Be
                   2                   Upheld.
                   3                       (1)   Emails from Defendant Muzin Containing Qatari
                   4                       Diplomatic Strategy Plan (Exs. 1-4 (PROD000000001-
                   5                       PROD000000019))
                   6         The emails to and from Defendant Muzin,
                   7             a proposed strategy plan for his diplomatic work on behalf of Qatar, are
L L P




                   8 properly designated as Highly Confidential.
F L E X N E R




                   9         First, they clearly fall within the third definition of “Highly Confidential” in
                  10 the entered Protective Order, which Plaintiffs essentially ignore. These documents,
                  11 which Plaintiffs themselves describe as
S C H I L L E R




                  12                                , by definition contain “information relating to the
                  13 conduct by Qatar of its foreign policy.” Ex. 2, D.4(iii). Thus, the Court has already
                  14 ruled that without Highly Confidential protection, Qatar would suffer specific,
                  15 irreparable harm from their public disclosure. Plaintiffs’ ongoing press campaign in
B O I E S




                  16 the New York Times and other publications, which specifically utilizes discovery
                  17 material from this case, itself demonstrates that if the Court releases these documents
                  18 for public disclosure, they will be featured in in the national press within days by the
                  19 Plaintiffs, for the express purpose of attempting to damage Qatar’s reputation in the
                  20 United States. Where Plaintiffs’ stated objective is to bring irreparable damage to
                  21 Qatar’s reputation via these documents, it cannot reasonably be Qatar’s burden to
                  22 explain exactly how Plaintiffs’ intend to twist these documents in the public record to
                  23 achieve their goal.
                  24         Second, Plaintiffs incorrectly state that the documents are already public
                  25 information. Although the general concept of coordinating meetings with leaders in
                  26
                  27                                        - 26 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 30 of 36 Page ID
                                                    #:3793



                   1 the Jewish community has been reported in public sources, the underlying
                   2 communications
                   3                                                                              are not in
                   4 the public record, and should be protected under the plain terms of the entered
                   5 Protective Order. The fact that a general topic is public knowledge sheds no light on
                   6 whether otherwise-confidential documents about that topic may be properly
                   7 designated.11
L L P




                   8         Moreover, assuming for the sake of argument that these materials were
F L E X N E R




                   9 coextensive with material in the public record, Plaintiffs’ argument would be even
                  10 less coherent. Indeed, Plaintiffs’ position on this score is completely inconsistent
                  11 with their counsel’s simultaneous argument that Qatar’s Highly Confidential
S C H I L L E R




                  12 designations “substantially interfere” with their ability to “advise and consult with
                  13 their clients regarding . . . the decision they must make regarding continued
                  14 litigation.” Supra p. 5. According to Plaintiffs, they already have this information at
                  15 their disposal via public sources.12
B O I E S




                  16         Third, these documents are covered by the Vienna Convention because they
                  17 constitute drafts of inviolable correspondence with the diplomatic mission of Qatar
                  18
                  19   11
                        This basic logical concept is fundamental to all privilege or confidentiality law.
                  20 For example, the fact of Plaintiffs’ filing of the Complaint in this case is public
                  21 information, but Plaintiffs would certainly never argue that the underlying
                     communications between client and counsel about the Complaint were not subject to
                  22 the attorney-client privilege.
                     12
                  23    Even if the Court were to conclude that Plaintiffs need the information to not be
                     “Highly Confidential” so that they can consult with their client, that is no reason to
                  24 fully downgrade them to being public documents. At the very least, they should
                  25 retain a Confidential designation if not Highly Confidential.
                  26
                  27                                        - 27 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 31 of 36 Page ID
                                                    #:3794



                   1 and relating to Qatar’s diplomatic mission with the United States. As discussed
                   2 above, supra p. 27, nothing in the Vienna Convention requires that the author of the
                   3 correspondence himself be a member of a diplomatic mission, or that those working
                   4 for or with Qatar on its foreign policy be formally recognized as diplomats. This
                   5 provides an independent basis for Highly Confidential designation, separate and apart
                   6 from the fact that the documents, in their entirety,13 clearly relate to Qatar’s foreign
                   7 policy.
L L P




                   8                      (2)    WhatsApp Messages Amongst Nick Muzin, Joseph
F L E X N E R




                   9                      Allaham, Jamal Benomar, and Ahmed Al-Rumaihi (Ex. 14
                  10                      (PROD00000024-25); Ex. 15 (PROD00000027); Ex. 16
                  11                      (PROD00000051))
S C H I L L E R




                  12         The WhatsApp messages among Defendant Muzin, Joseph Allaham, Jamal
                  13 Benomar, and Ahmed Al-Rumaihi are properly designated as Highly Confidential
                  14 because they are private messages between individuals working for, on behalf of, or
                  15 with Qatar on matters related to foreign policy, and the messages relate to the
B O I E S




                  16 conduct by Qatar of its foreign policy. (Ex. 2, D.4(iii)). Again, Plaintiffs seek this
                  17 information solely for the improper purpose of doing as much damage to Qatar’s
                  18
                       13
                  19      Plaintiffs’ final objection that Qatar should have only designated some portion of
                       these documents is facially absurd. Supra p. 12. The whole of each iteration of the
                  20   document constitutes diplomatic correspondence under the Vienna Convention, and
                  21   its focal topic is Qatar’s foreign policy efforts in the United States. The fact that
                       Qatar did not designate only portions of these documents, standing alone, does not
                  22   and cannot mean that Qatar’s designation was improper; it simply means that the
                  23   documents in question do not lend themselves to partial designation. As is evident in
                       Qatar’s other designations, it reviewed the discovery material at issue carefully and
                  24   made line-by-line designations, rendering spurious Plaintiffs’ contention that Qatar’s
                  25   designations are “indiscriminate.”

                  26
                  27                                        - 28 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 32 of 36 Page ID
                                                    #:3795



                   1 reputation as possible. Thus, any public disclosure, or disclosure to Elliott Broidy,
                   2 who himself admits he is a political enemy of Qatar, would lead to irreparable harm.
                   3 Again, the Court has already acknowledged these tangible harms in ruling that any
                   4 information relating to Qatar’s foreign policy work is protectable as Highly
                   5 Confidential.
                   6         The fact that the individuals communicating in these messages are not
                   7 “members of the Qatari diplomatic mission” is of no consequence, either for
L L P




                   8 designation under the Vienna Convention or the third definition in the Protective
F L E X N E R




                   9 Order. As explained above, the Vienna Convention applies regardless of whether the
                  10 custodian or recipient of documents is an official member of the Qatari diplomatic
                  11 mission; all that is required is that the correspondence be related to the purposes of
S C H I L L E R




                  12 the diplomatic mission. And the inclusion within the Protective Order’s definition of
                  13 Highly Confidential information of all documents “relating to the conduct by Qatar
                  14 of its foreign policy” also contains no such limiting requirement.
                  15         In addition, Plaintiffs’ current position that these individuals were wholly
B O I E S




                  16 unrelated to Qatar’s diplomatic or foreign policy work is flatly inconsistent with their
                  17 own allegations in this lawsuit. All parties agree that Defendant Muzin was a duly-
                  18 registered agent of Qatar, and Joseph Allaham worked with him as a subcontractor
                  19 for and on behalf of Qatar, later filing his own FARA statement for that work. In
                  20 their First Amended Complaint, Plaintiffs allege that Ahmed Al-Rumaihi worked “on
                  21 behalf of and with the knowledge of and agreement to by Defendant State of Qatar”
                  22 with regard to its foreign policy objectives in the United States. FAC, ¶ 4. And in
                  23 their lawsuit against Jamal Benomar, they explicitly allege that he has worked to
                  24 “serve the interests of Qatar.” Broidy Capital Management LLC v. Benomar, No. 18-
                  25 CV-6615 (S.D.N.Y. July 23, 2018), Dkt. 1.
                  26
                  27                                        - 29 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 33 of 36 Page ID
                                                    #:3796



                   1         The WhatsApp communications among these individuals that Qatar has
                   2 designated are only those in which the individuals discuss their foreign policy work
                   3 on behalf of Qatar,
                   4                             (Ex. 14 at PROD00000024-25.) As explained, supra p. 28,
                   5 all underlying communications about
                   6                                                                                         is
                   7 properly designated as Highly Confidential, as it is correspondence relating to
L L P




                   8 Defendant Muzin and Mr. Allaham’s diplomatic and foreign policy work on behalf of
F L E X N E R




                   9 Qatar, notwithstanding the fact that the general concept of that strategy is available in
                  10 the public domain.
                  11                       (3)    Bank Records Showing Payment from Ahmed Al-Rumaihi
S C H I L L E R




                  12                       to Joseph Allaham (Ex. 17 (PROD000000067 to
                  13                       PROD000000074))
                  14         Qatar has also properly designated as Highly Confidential bank records
                  15
B O I E S




                  16                                                                     (See Ex. 17
                  17 (PROD00000067-74)). Although the fact of the payment has been publicly disclosed
                  18 by Mr. Allaham in his FARA registration statement, all other details about the
                  19 payment that are included in this document,
                  20
                  21           are not in the public record. All of these details relate to payment to Mr.
                  22 Allaham related to his work on behalf of Qatar, and thus “relat[e] to the conduct by
                  23 Qatar of its foreign policy.” (Ex. 2, D.4(iii)).
                  24                       (4)    Portions of the Transcript of Joseph Allaham (Ex. 18).
                  25         The portions of the deposition of Joseph Allaham that Qatar has designated as
                  26
                  27                                        - 30 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 34 of 36 Page ID
                                                    #:3797



                   1 either Confidential or Highly Confidential are properly designated as such because
                   2 each instance of redaction is testimony that relates to, discusses, or transmits
                   3 information relating to Allaham’s work on behalf of Qatar, or communications with
                   4 Qatari officials, agents, or associates. These portions of the deposition transcript are
                   5 therefore properly designated because they “relat[e] to the conduct by Qatar of its
                   6 foreign policy.” (Ex. 2, D.4(iii)).
                   7                                        *        *     *
L L P




                   8         Contrary to Plaintiffs’ bold statement, this is not a classic case of abuse of a
F L E X N E R




                   9 Protective Order. It is a classic case of abuse of the legal discovery process.
                  10 Plaintiffs’ only agenda is to press a political vendetta that Plaintiffs wish to play out
                  11 in the “court of public opinion,” not to pursue any legitimate pending case—of which
S C H I L L E R




                  12 there are none in this district. The Court should continue to protect Qatar’s interests
                  13 as an improperly-sued foreign sovereign, and confirm that the designated information
                  14 relates to Qatar’s diplomatic mission and foreign policy, and is thus properly
                  15 protected from disclosure.
B O I E S




                  16
                  17                                                  Respectfully Submitted,
                  18 Dated: October 1, 2018                          BOIES SCHILLER FLEXNER LLP

                  19                                                 By: Lee S. Wolosky
                  20                                                 Lee S. Wolosky (pro hac vice)
                                                                     Email: lwolosky@bsfllp.com
                  21                                                 575 Lexington Ave., 7th Floor
                  22                                                 New York, NY 10022
                                                                     Telephone: +1 212-446-2300
                  23                                                 Facsimile: + 1 212-446-2350
                  24
                                                                     Attorneys for Plaintiffs
                  25
                  26
                  27                                        - 31 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 35 of 36 Page ID
                                                    #:3798



                   1
                       Dated: October 1, 2018                      COVINGTON AND BURLING LLP
                   2
                   3                                               By: Mitchell A. Kamin
                                                                   Mitchell A. Kamin
                   4                                               Email: mkamin@cov.com
                   5                                               1999 Avenue of the Stars, Suite 3500
                                                                   Los Angeles, CA 90067-4643
                   6                                               Telephone: + 1 424-332-4800
                   7                                               Facsimile: + 1 424-332-4749
L L P




                   8                                               Attorneys for Defendant State of Qatar
F L E X N E R




                   9
                  10
                  11
S C H I L L E R




                  12
                  13
                  14
                  15
B O I E S




                  16
                  17
                  18
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27                                      - 32 -                   Case No. 18-cv-02421-JFW
                                      JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                              THE PROTECTIVE ORDER
                  Case 2:18-cv-02421-JFW-E Document 231-3 Filed 10/01/18 Page 36 of 36 Page ID
                                                    #:3799



                   1                        SIGNATURE CERTIFICATION
                   2        Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
                   3 listed, and on whose behalf the filing is submitted, concur in the filing’s
                   4 content and have authorized this filing.
                   5
                   6 Dated: October 1, 2018             BOIES SCHILLER FLEXNER LLP
                   7                                    By:     /s/ Lee S. Wolosky
L L P




                   8                                            Lee S. Wolosky
F L E X N E R




                   9                                            Counsel for Plaintiffs
                  10
                  11
S C H I L L E R




                  12
                  13
                  14
                  15
B O I E S




                  16
                  17
                  18
                  19
                  20
                  21
                  22
                  23
                  24
                  25
                  26
                  27                                        - 33 -                  Case No. 18-cv-02421-JFW
                                       JOINT STATEMENT RE MOTION CHALLENGING QATAR’S DESIGNATIONS UNDER
                  28                                                               THE PROTECTIVE ORDER
